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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    FAUSTINO RUA,                             Case No. 2:19-cv-06115-CJC-KES
 12                Plaintiff,
 13        v.                                  ORDER ACCEPTING REPORT AND
                                               RECOMMENDATION OF UNITED
 14    CALIFORNIA CORRECTIONAL
                                                STATES MAGISTRATE JUDGE
       HEALTH CARE SERVICES, et al.,
 15
                   Defendants.
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the
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      records and files herein, along with the Report and Recommendation of the United
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      States Magistrate Judge. Further, the Court has engaged in a de novo review of
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      those portions of the Report and Recommendation to which objections have been
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      made. The Court accepts the findings, conclusions, and recommendations of the
 22
      United States Magistrate Judge.
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            IT IS THEREFORE ORDERED that Judgment be entered dismissing the
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      Second Amended Complaint with prejudice.
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 26   DATED: April 29, 2020                 ____________________________________
                                            CORMAC J. CARNEY
 27                                         UNITED STATES DISTRICT JUDGE
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